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                   UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION
                           www.flmb.uscourts.gov

In re:                              Case No.:                  8:22-bk-00103-CED
Senior Care Living VII, L.L.C.      Chapter:                   11
       Debtor.
__________________________________/

                  UNITED STATES TRUSTEE
             OBJECTION TO ESTATE FIDUCIARY’S
         MOTION FOR ORDER (A) FOR AUTHORITY TO
           OBTAIN POST-PETITION FINANCING AND
          (B) PROVIDING FIRST PRIORITY LIENS AND
  SECURITY INTERESTS AND ADMINISTRATIVE EXPENSE STATUS

      This Honorable Court should deny the estate fiduciary’s Motion for Order

(Doc. No. 119) seeking authority to obtain post-petition financing and providing

first priority liens as well as administrative expense claim status as the Motion is

premature and fails to provide adequate due process. Under Federal Rule of

Bankruptcy Procedure 4001(c)(1)(A), the Motion “shall be accompanied by a copy

of the credit agreement and a proposed form of order.” Neither the DIP Loan

Documents nor a proposed form of order are attached to the Motion. Instead,

footnote 3 of the Motion provides a clause that should cause pause:

      The Motion attempts to summarize the terms of the anticipated DIP
      Loan Documents. In the event of a conflict between the terms of the
      DIP Loan Documents and the Motion, the terms of the DIP Loan
      Documents shall control.
      Mot. pg. 5, fn. 3 (Doc. No. 119).


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      Here, even before the estate fiduciary filed the Motion, it orally sought and

obtained a reduction of time for all parties in interest to respond to the Motion. See

(Doc. Nos. 114 and 116). Once the response time was shortened, the estate

fiduciary then prevented any meaningful opportunity to review the DIP Loan

Documents. The U.S. trustee held off filing this instant objection in expectation

that the estate fiduciary to finally comply with Federal Rule of Bankruptcy

Procedure 4001(c)(1)(A) and file the DIP Loan Documents in so that parties could

meaningfully review the DIP Loan Documents prior to the deadline to object. Alas,

this Constitutional due process objection is now lodged at the closing of the

deadline to object—without any disclosure of the DIP Loan Documents.

      Because the estate fiduciary failed and refused to comply with 11 U.S.C. §

364 and Federal Rule of Bankruptcy Procedure 4001(c)(1)(A), the U.S. trustee

reserves her myriad of objections arising from the problems noted under the ‘term

sheet’ that is not even binding upon any party and would not be what would be

authorized and approved by this Court as the non-existent DIP Loan Documents

“shall control.”

      The U.S. trustee preserves her right to file a supplemental objection—once

the estate fiduciary complies with Federal Rule of Bankruptcy Procedure

4001(c)(1)(A). Were the estate fiduciary to finally comply with Federal Rule of

Bankruptcy Procedure 4001(c)(1)(A) and file a copy of the fully executed DIP


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Loan Documents—the U.S. trustee will ask for continuance of the hearing that will

be on no less than 14 days’ notice as required under Federal Rule of Bankruptcy

Procedure 4001(c)(2), and reduction is proscribed under Federal Rule of

Bankruptcy Procedure 9006(c)(2). Additionally, the U.S. trustee preserves and

does not waive her right to raise and be heard on any issue at the hearing.

       WHEREFORE PREMISES CONSIDERED the United States Trustee for

Region 21 respectfully prays that this Honorable Court sustain her Constitutional

due process objection and deny the estate fiduciary’s Motion for Order, and for

such other and additional relief as is appropriate in this matter.

       Dated: 27 May 2022

                                             Respectfully submitted,

                                             Mary Ida Townson
                                             U.S. TRUSTEE, REGION 21

                                     By:     /s/ J. Steven Wilkes (Ala Bar #: WIL-278)
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                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served
electronically, or by United States mail postage prepaid, to the following on or before 27 May
2022:

Electronic Mail:      Michael C. Markham, Counsel to Estate Fiduciary

                                                     /s/ J. Steven Wilkes


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